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                                 IN THE UNITED STATES DISTRICT COURT
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14   Vera, Luis Javier Vazquez, and Kyle
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15   others similarly situated,                        DEFENDANT ZUFFA, LLC’S MOTION
                                                       TO SEAL EXHIBITS AND PROTECTED
16                  Plaintiﬀs,                         MATERIALS AT THE EVIDENTIARY
                                                       HEARING ON CLASS CERTIFICATION
17          vs.

18   Zuﬀa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
19
                    Defendant.
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 1                                  GLOSSARY OF ABBREVIATIONS
 2          For the convenience of the Court and eﬃciency, Plaintiﬀs’ Opposition uses the following

 3   abbreviations:

 4    Exhibit Description                                             Abbreviation      Madden Decl.
                                                                                          Exhibit
 5
        Expert Report of Hal J. Singer, Ph.D. (August 31, 2017),          SR1               2
 6      with Zuﬀa’s Proposed Redactions
        Rebuttal Expert Report of Hal J. Singer, Ph.D. (January 12,       SR2                  3
 7      2018), with Zuﬀa’s Proposed Redactions
 8      Supplemental Expert Report of Hal J. Singer, Ph.D. (April         SR3                  4
        3, 2018), with Zuﬀa’s Proposed Redactions
 9      Second Supplemental Reply Report of Hal J. Singer, Ph.D.          SR4                  5
        (May 28, 2018), with Zuﬀa’s Proposed Redactions
10
        Expert Report of Professor Robert H. Topel (October 27,           TR1                  6
11      2017), with Zuﬀa’s Proposed Redactions
        Professor Robert H. Topel’s Reply to the Supplemental             TR4                 10
12      Expert Report of Hal J. Singer, Ph.D. (May 7, 2018), ECF
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 1   I.       INTRODUCTION
 2            Zuﬀa has moved to seal exhibits and information at the upcoming evidentiary hearing on class

 3   certiﬁcation (“Hearing”), invoking broad, blanket restrictions over information that cannot properly be

 4   sealed. More speciﬁcally, Zuﬀa proposes to redact and restrict testimony concerning ﬁnancial

 5   information and purported “trade secrets” reﬂecting post-January 1, 2014 information. Zuﬀa’s proposed

 6   blanket redactions and conﬁdentiality procedures, if granted, would block the Parties’ experts from

 7   testifying in open court concerning their models and the bases for the experts’ choices in designing

 8   them. Such testimony is the purpose of the upcoming Hearing. Zuﬀa’s motion should be denied so that

 9   the Parties may present their experts’ opinions to the Court unimpeded by Zuﬀa’s eﬀorts to obstruct

10   such testimony through cumbersome, unnecessary, and improper conﬁdentiality procedures. In addition

11   to the general public interest in open access to the Courts, Plaintiﬀs, Class members, and the public—

12   all of whom have to date been shielded from critical information about this case—have an abiding

13   interest in accessing and evaluating fundamental aspects of a case that pertains to the conduct of the

14   monopoly owners of a major professional sport in the United States. �roughout its brieﬁng on sealing

15   issues, Zuﬀa has failed to meet its burden on the required document-by-document basis. Zuﬀa’s current

16   motion commits those same failures. Zuﬀa again relies on vague assertions of potential harm relating to

17   non-speciﬁc “trade secrets” and general ﬁnancial information. Zuﬀa supports its position by arguing

18   that the material in question has been kept conﬁdential in the past (which is not, in fact, true for much

19   of the supposedly protected material), and making speculative assertions that potential harm could

20   follow disclosure. Such justiﬁcation is insuﬃcient to meet even the “good cause” standard, much less

21   the applicable “compelling reasons” standard. In fact, Zuﬀa has failed to provide factual bases on

22   which the Court could make the speciﬁc factual ﬁndings necessary to seal the materials and prevent

23   witnesses from testifying to them in open court. Troublingly, the Court provided guidance on what

24   material may properly be sealed upon a suﬃcient showing. But Zuﬀa ignored the Court’s guidance and

25   asserted broad, blanket conﬁdentiality protections over materials that cannot be sealed.

26   II.      LEGAL STANDARD
27            Zuﬀa has not and cannot meet the high burden for sealing broad swathes of material relating to

28   this case. Courts in the Ninth Circuit “[b]egin[] with the assumption that the press and public have a

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 1   presumed right of access to court proceedings and documents.” Phx. Newspapers v. U.S. Dist. Court,

 2   156 F.3d 940, 949 (9th Cir. 1998); Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir.

 3   2006) (party seeking to seal a judicial record must overcome “a strong presumption in favor of access”

 4   by meeting the “compelling reasons” standard). A hearing may be closed to the public only when: “(1)

 5   closure serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

 6   this compelling interest would be harmed; and (3) there are no alternatives to closure that would

 7   adequately protect the compelling interest.” Id. Compelling reasons “exist when such ‘court ﬁles might

 8   have become a vehicle for improper purposes,’ such as the use of records to gratify private spite,

 9   promote public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179 (quoting

10   Nixon v. Warner Commc’ns, 435 U.S. 589, 598 (1978)). “In other words, the public’s right to access a

11   hearing is overcome only by a ﬁnding that closure is essential to preserve higher values and is narrowly

12   tailored to serve that interest.” Facebook, Inc. v. ConnectU, Inc., 2008 WL 11357787, at *4 (N.D. Cal.

13   July 2, 2008). 1 “Furthermore, the court ordering closure must make speciﬁc factual ﬁndings, rather than
14   basing its decision on conclusory assertions alone.” Phx, 156 F.3d at 949.

15          Even concerning sealing written materials ﬁled with the court, when such materials are

16   submitted in connection with a motion that is “more than tangentially related to the merits of the

17   underlying action,” as motions for class certiﬁcation are, courts apply the “compelling reasons”

18   standard. See Ctr. For Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1100-01 (9th Cir. 2016).

19   Indeed, as argued in Plaintiﬀs’ brieﬁng on the applicable standard for sealing materials relating to the

20   Hearing (ECF Nos. 631 & 639), which arguments are incorporated herein, district courts in the Ninth

21   Circuit apply the compelling reasons standard to written materials ﬁled in support of parties’ positions

22   on class certiﬁcation. See, e.g., Moussouris v. Microsoft Corp., 2018 WL 1159251, at *4 (W.D. Wash.

23   Feb. 16, 2018) (citing cases). �e reasons are clear: “in class actions—where by deﬁnition some

24   members of the public are also parties to the case—the standards for denying public access to the

25   record should be applied with particular strictness.” Shane Grp., Inc. v. Blue Cross Blue Shield, 825

26
     1
      Zuﬀa previously argued that it would not seek to close the courtroom for the Hearing. See, e.g., ECF
27   No. 645 at 1. However, the material Zuﬀa proposes to seal would require the Court to close the
     courtroom to prevent its disclosure. As set forth herein, Zuﬀa’s sealing proposal is so broad, for
28   example, that Plaintiﬀs’ experts could not fairly present their opinions and models to the Court and
     Plaintiﬀs could not fairly cross examine Zuﬀa’s economists without disclosing these materials.
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 1   F.3d 299, 305 (6th Cir. 2016) (citation omitted). �is reasoning applies especially to antitrust cases,

 2   where “the public’s interest is focused not only on the result, but also on the conduct giving rise to the

 3   case. In those cases, secrecy insulates the participants, masking impropriety, obscuring incompetence,

 4   and concealing corruption.” Id. (citation omitted). “[E]ven where a party can show a compelling reason

 5   why certain documents or portions thereof should be sealed, the seal itself must be narrowly tailored to

 6   serve that reason. �e proponent of sealing therefore must analyze in detail, document by document,

 7   the propriety of secrecy, providing reasons and legal citations.” Id. at 305-06 (citation omitted); see

 8   also Collectors Coﬀee Inc. v. Blue Sunsets, LLC, 2017 U.S. Dist. LEXIS 96273, at *6 n.1 (D. Nev. June

 9   21, 2017) (“A litigant is required to make a particularized showing for each document it seeks to ﬁle

10   under seal.”). Sealing information in a class action is inappropriate when doing so would “interfere

11   with the right of class members to make an informed decision about whether to object or opt out.” Hunt

12   v. VEP Healthcare, 2017 WL 3608297, at n.1 (N.D. Cal. Aug. 22, 2017).

13   III.      ZUFFA’S POSITION
14             Zuﬀa proposes to block testimony and seal or redact exhibits introduced at the upcoming

15   Hearing that disclose information in either of two categories: (1) Post-2013 ﬁnancial material; and (2)

16   Post-2013 trade secret materials “e.g., internal valuations, analyses, projections and strategies.” 2 See

17   Madden Decl. Ex.1 (Letter from Jonathan M. Shaw to Eric L. Cramer dated May 24, 2019).

18   IV.       ARGUMENT
19             Zuﬀa does not meet its burden to seal. Zuﬀa’s purported factual basis for sealing is sparse and

20   roughly amounts to the mere fact that Zuﬀa has kept certain material conﬁdential and seeks to continue

21   to do so. �at is insuﬃcient. “�e Ninth Circuit has rejected eﬀorts to seal documents under the

22   ‘compelling reasons’ standard based on ‘conclusory statements [that] the contents of the documents . . .

23

24   2
       Plaintiﬀs have agreed to seal, redact, or otherwise not disclose in open court a third category:
     “[S]ensitive private third-party information” such as speciﬁc injury diagnoses or personal information
25   including phone numbers and home addresses. Further, Zuﬀa initially proposed to seal a fourth
     category, Zuﬀa’s contracts with Fighters and documents quoting such contract language, but after
26   Bellator agreed not to seal its contracts, see ECF No. 661-15 (Bellator’s June 14, 2019 Letter), Zuﬀa
     retracted its position. Nevertheless, Zuﬀa’s position concerning Fighter contracts remains ambiguous:
27   Despite explicitly stating in its May 24 letter that “Zuﬀa will not move to seal material referring to but
     not quoting from its contracts with its athletes,” Zuﬀa proposed redactions that would seal such
28   materials. If Zuﬀa continues to take that position, presumably asserting that these discussions are
     (somehow) trade secrets, Plaintiﬀs reserve their right to challenge that untenable position.
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 1   are conﬁdential and that, in general,’ their disclosure would be harmful to the movant.” Bartech Int’l,

 2   Inc. v. Mobile Simple Sols., Inc., 2016 WL 2593920, at *1 (D. Nev. May 5, 2016) (quoting Kamakana,

 3   447 F.3d at 1182). Zuﬀa’s request should be denied.

 4          A.      Zuﬀa’s Sealing Proposal Violates the Court’s Instructions
 5          Zuﬀa’s sealing proposal is contrary to the guidance the Court has provided. First, Zuﬀa’s

 6   blanket proposal to seal all of its ﬁnancial information from 2014 forward ignores the instructions the

 7   Court gave in the December 14, 2018 hearing:

 8          So let me tell you what I think are appropriate parameters . . . Zuﬀa’s ﬁnancial information
            at this point doesn’t seem to me warrants protection because at some point that’s going to
 9          be a part of at least what I’d have to consider, not all of the ﬁnancial information, but the
            discussions as it relates to event revenue, percentages of event revenue, comparisons
10
            between Zuﬀa and other promoters, the percentage of the revenues compared to other
11          professional sports. I don’t see why any of that information should be sealed.

12   Tr. at 7:10-20. �e Court stated further that “in the context of the discussion of the motions and the

13   testimony of the experts . . . going forward, there would be no sealing of that information. Why would I

14   seal any of that information?” Id. at 6:10-13. Rather than narrowly tailoring its sealing proposal per the

15   Court’s guidance, Zuﬀa has proposed the blanket sealing of entire documents and redactions of expert

16   reports based on an arbitrary time period that will serve only to impede the Parties’ ability to present

17   their experts’ modeling (and underlying bases) in a fair and orderly manner. Moreover, the Court

18   instructed Zuﬀa to present exhibits purportedly requiring protection:

19          [A]s it relates to the sealing, . . . it’s hard for me to make determinations about particularly
            trade secrets and sensitive information without seeing what the exhibit is. So, for example,
20          it seems to me a general category which I think I would probably seal would be anything
            related to ﬁnancial projections or ﬁnancial future strategies. So, you know, if there were
21          anything in these exhibits that suggested expansion strategies for other areas or other
22          countries, . . . or other markets, that to me might be potentially something that I would
            consider sort of sealing on a general basis.
23
     Feb. 1, 2019 Hearing Tr. at 7:15-25. �e Court made clear that it did not want to “go through general
24
     arguments without looking at the speciﬁc exhibits.” Id. at 8:4-5. 3 Zuﬀa now asks the Court to do just
25
     what it said it did not want to do, by again making general arguments untethered to the overly broad
26

27   3
      See also id. at 15:13-19 (“I have to tell you I’m not quite clear about it now, what types of trade
     secrets or sensitive commercial information is being protected. It’s diﬃcult for me to do that given
28   what’s been submitted to me without seeing the exhibits, and we’ll just go through it exhibit by exhibit.
     And that may take time, but that seems to me to be the only fair way to do it in this case.”).
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 1   swathe of information Zuﬀa seeks to protect. Zuﬀa has repeatedly ignored its obligation to make a

 2   factual showing as to each document and narrowly tailor redactions.

 3          Nevertheless, as set forth herein, looking at even a small sample of Zuﬀa’s proposed redactions

 4   shows its ﬂaws. In light of the page limits for this brief and the overbroad approach Zuﬀa has taken to

 5   sealing, Plaintiﬀs focus only on examples of the problems with Zuﬀa’s proposal and are willing and

 6   ready to discuss the problems with the Court exhibit-by-exhibit. Notably, had Zuﬀa narrowly tailored its

 7   redactions to only the limited set of materials (if any) that arguably could meet the applicable sealing

 8   standard, then justifying its redactions in its brieﬁng would have been administratively manageable.

 9   Because Zuﬀa has instead ignored the Court’s instructions and the applicable legal standard, Zuﬀa failed

10   to meet its burden as to any documents and thus all of the materials should not be subject to protection. 4
11          B.      �e Experts’ Econometric Analyses and Modeling Are Not Appropriately Sealed
12          Zuﬀa’s most problematic proposal is its intention to redact substantial material in the Parties’

13   expert reports. As the Court has recognized, “the testimony of the experts … going forward, there

14   would be no sealing of that information” because such materials are what the Court must consider. Dec.

15   14, 2018 Hearing Tr. at 6-7. Nevertheless, Zuﬀa seeks to redact material concerning, inter alia:

16      •   Dr. Singer’s analyses of Zuﬀa’s pay structure and the fact that Fighter compensation at all levels
            and ranks                  . E.g., SR1 ¶¶217-18, 220-25, 229 & Tbl.7. 5
17
        •   Plaintiﬀs’ calculations of aggregate class damages. See, e.g., SR1 ¶¶5, 245, 247-48, 250, 252-56
            & Tbls. 9-12; SR2 ¶171.
18
        •   Dr. Singer’s Relevant Market deﬁnitions and discussion of market shares within the Relevant
19          Markets. See, e.g., SR1 ¶¶96, 129, 131, Fig. 1, Tbl.3 & n.351.

20      •   Dr. Singer’s Foreclosure Share methodology and analyses and responses to Dr. Topel’s critiques
            of that methodology and analyses. See, e.g., SR1 ¶¶170, 173 & Fig. 3; SR2 ¶¶58, 61-62, 65.
21      •   Discussion of Dr. Singer’s regression analyses and results, including discussion and charts
            concerning Dr. Singer’s control variables, summary statistics, and regression output. See, e.g.,
22          SR1 ¶¶ 147-48, 157-59, 165, 170-71, 185-87, Tbls.4-6, & n.454.

23      •   Dr. Singer’s analyses and charts relating to price increases and reduced output in the Relevant
            Output Market. See, e.g., SR1 ¶¶147-48, 197, 201-203, 205-07 & Figs. 4A-4C; SR2 ¶¶48, 204-
            09, Fig.2 & nn.649, 651,656.
24

25   4
       Plaintiﬀs stand by their agreements to redact certain materials such as injury diagnoses.
     5
       �e Court has previously pointed out that Zuﬀa argues there is no “formula” to its Fighter
26   compensation. Dec. 14, 2019 Hearing Tr. at 6:2-13. Plaintiﬀs note that what Dr. Singer has found is that
     ﬁghter pay is based on objective factors, and thus that diﬀerences in pay between ﬁghters is similarly
27   based on those factors—implicitly creating a pay structure. �at explains why Dr. Topel himself found
     that ﬁghter pay at all levels and ranks moved together over time. In any event, Zuﬀa cannot publicly
28   assert it has no such structure and seek to seal the evidence of its existence.

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 1       •   Dr. Singer’s ﬁndings that       of the Class was injured. See, e.g., SR1 ¶231 & Table 8. 6
 2       •   Dr. Singer’s analyses concerning the duration of Zuﬀa’s exclusivity rights over Fighters. See,
             e.g., SR1 ¶¶89-91 & Tbl.1; SR2 ¶¶191-92
 3       •   Dr. Topel’s analyses that showed Zuﬀa’s Foreclosure Share increased over the relevant time
             period for Fighters in all ranking tiers. See, e.g., TR1 at Exs. 28-29.
 4
         •   Dr. Singer’s critique of Dr. Topel’s compensation levels analysis. E.g., SR3 ¶35; SR4 ¶¶9, 45.
 5       •   Discussion of Dr. Topel’s analyses concerning the relationship between Fighter compensation
             and Foreclosure Share and between event revenue and athlete pay. See, e.g., TR1 ¶¶147-48.
 6

 7   In short, Zuﬀa proposes to seal (1) the bases for Dr. Singer’s analyses and choices in how to design his

 8   models, (2) the models themselves and how they work, (3) Dr. Singer’s ﬁndings and results, (4) Zuﬀa’s

 9   experts’ critiques of Dr. Singer’s models, (5) Zuﬀa’s experts’ damaging admissions, and (6) Dr.

10   Singer’s response to Zuﬀa’s experts’ critiques. �is Hearing is expected to cover each of these

11   categories of material and, without sealing the courtroom—which Zuﬀa does not propose to do—it

12   would be practically impossible to cover these matters without disclosure.

13           Zuﬀa provides no proper basis for sealing these materials. During the meet and confer, Zuﬀa

14   oﬀered a speculative and unsupported assertion 7 that revealing the information could allow some
15   undeﬁned person to reverse engineer Dr. Singer’s work and derive information that Zuﬀa purports to be

16   a trade secret—without access to Dr. Singer’s backup material.8 Zuﬀa has made no showing that this
17   is possible, much less a suﬃcient showing of what speciﬁcally could be ascertained that would cause

18   competitive harm. Such sealing would merely impede Plaintiﬀs’ ability to present testimony in a

19   manner conducive to assisting the Court in understanding the Parties’ experts’ positions.

20           C.     Zuﬀa Proposes to Seal Public Information
21           Zuﬀa proposes to redact and/or seal ﬁnancial information that is already in the public realm.

22   �at proposal violates established law and serves only to impair Plaintiﬀs’ ability to present their case.

23   For example, Zuﬀa proposes to seal ﬁnancial materials from 2014 forward, irrespective of granularity

24
     6
       Inexplicably, Zuﬀa does not propose to redact Dr. Singer’s further analyses on this topic in his
25   Rebuttal Report. See, e.g., SR2 ¶¶150-52 & Tbls.2-3. As discussed infra, Zuffa’s failure to articulate
     bases for redactions that can be consistently applied is another reason to deny Zuffa’s motion.
26   7
       “An unsupported assertion of unfair advantage to competitors without explaining how a competitor
     would use the information to obtain an unfair advantage is insuﬃcient.” Hodges v. Apple, Inc, 2013 WL
27   6070408, at *2 (italics added).
     8
       Further, Zuﬀa inexplicably seeks to redact even descriptive information about Dr. Singer’s backup.
28   For example, Zuﬀa proposes to redact Dr. Topel’s notation that Dr. Singer’s regression data includes
                                                               . TR1 at n.218.
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 1   or type of ﬁnancial material. But broad and substantial ﬁnancial information concerning Zuﬀa’s

 2   operations have been in the public realm for some time. For example, Moody’s has issued annual,

 3   publicly available reports providing speciﬁc information about Zuﬀa’s EBITDA, growth in pay-per-

 4   view (“PPV”) revenue, and debt. See, e.g., Madden Decl. Ex. 7 (MDYS ZFF 000082, Feb. 9, 2016

 5   Credit Opinion). �e press has used these Credit Opinions and previously publicized Deutsche Bank

 6   “Conﬁdential Information Memoranda” to estimate Zuﬀa’s ﬁnances. See, e.g., John S. Nash, What

 7   investors are being told about UFC revenues, BloodyElbow.com (Oct. 20, 2015), available at

 8   https://www.bloodyelbow.com/2015/10/20/9547333/what-deutsche-bank-moodys-and-standard-poors-

 9   tell-us-about-the-ufc. 9 Furthermore, in October 2016, MMAJunkie.com reported on a “58-page
10   document” created by WME-IMG and Zuﬀa for potential investors which contained much of the types

11   of information Zuﬀa suggests would be harmful if disclosed, including, without limitation: (1) 2015

12   revenue information; (2) a breakdown of sources of revenue; (3) discussion of the reasons for changes

13   to headliners; (4) PPV sales-including speciﬁc sales for speciﬁc events featuring speciﬁc ﬁghters; (5)

14   discussion of future layoﬀs and other strategies geared toward “more rigorous corporate discipline” in

15   areas such as “compensation practices;” and (6) expected increases in revenues from Zuﬀa’s UFC

16   video game through EA Sports. See Ben Fowlkes & Steven Marrocco, What investor documents tell us

17   about the UFC’s past – and its future, MMAJunkie.com (Oct. 31, 2016), available at https://mmajun

18   kie.com/2016/10/what-investor-documents-tell-us-about-the-ufcs-past-and-its-future. Moreover,

19   Zuﬀa’s parent, Endeavor, recently ﬁled its Form S-1 in connection with its impending Initial Public

20   Oﬀering (“IPO”). In that ﬁling, Endeavor discussed speciﬁcs as to Zuﬀa’s debt, value of Zuﬀa’s equity,

21   the purchase price (and allocations of that price) of Zuﬀa, the value of “Net assets acquired” in

22   connection with the Zuﬀa purchase, and Zuﬀa’s “consolidated revenue and net loss” for the year ended

23   December 31, 2016. See Madden Decl. Ex. 8 (excerpts of Endeavor Form S-1 dated May 23, 2019). 10
24
     9
       See also John S. Nash, What investors are being told about UFC debt, BloodyElbow.com (Nov. 5,
25   2015), available at https://www.bloodyelbow.com/2015/11/3/9561981/ufc-ﬁnances-zuﬀa-debt-
     deutsche-bank-moodys-standard-and-poor-investors-bonds; John S. Nash, What investors are being
26   told about UFC earnings, BloodyElbow.com (Nov. 19, 2015), available at https://www.bloodyelbow
     .com/2015/11/19/9648588/what-investors-are-being-told-about-ufc-earnings; John S. Nash, UFC
27   Finances: Moody’s reports a big 2015 for Zuﬀa, BloodyElbow.com (Feb. 15, 2016), available at
     https://www.bloodyelbow.com/2016/2/15/10985436/moodys-reports-a-big-2015-for-the-ufc.
28   10
        Additionally, Zuﬀa proposes myriad redactions of discussions of other public material. See, e.g., SR1

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 1          Beyond these entity-wide ﬁnancials, Zuﬀa also seeks to redact UFC Fighter compensation

 2   information that has long been in the public realm. For example, Zuﬀa seeks to redact various materials

 3   concerning its 2015 decision to

 4                                                  . See, e.g., SR1 ¶¶220-22; see also Madden Decl. Ex. 9

 5   (ZFL-0895314). But that compensation decision entered the public realm in 2015 and has been

 6   discussed since; i.e., it has not been “confidential” since the decision was made. 11 Because these
 7   matters are already in the public realm, Zuﬀa’s proposal to seal these materials serve no purpose and

 8   merely would impede the Parties’ ability to present the experts’ opinions to the Court.

 9          D.      Zuﬀa’s Time Period Restriction Is Arbitrary and Ignores Commercial Reality
10          Zuﬀa’s proposed time period restriction concerning ﬁnancial materials and purported “trade

11   secrets” (sealing materials from 2014 forward) is arbitrary and ignores recent signiﬁcant changes to

12   Zuﬀa’s business. �e discovery period in this case ended June 30, 2017. �us, Zuﬀa’s proposed

13   restriction eﬀectively seeks to seal materials from January 1, 2014 to June 30, 2017 (i.e., Zuﬀa seeks to

14   seal materials that is at least two years old). Zuﬀa has made signiﬁcant changes to its business in recent

15   years. In particular, Zuﬀa has new deals for its televised content that post-date the discovery period.

16   Speciﬁcally, Zuﬀa executed new deals with ESPN+ concerning PPV and non-PPV televised content in

17   or around March 2019 and May 2018, respectively. 12 Due to these new deals, information concerning
18   Zuﬀa’s prior deals are outdated from a competitive intelligence perspective. Moreover, WME-IMG

19   purchased Zuﬀa in late 2016 and made changes to the business in the ensuing years that render pre-

20   purchase ﬁnancial information and “trade secrets” materially less sensitive and less likely (if possible)

21
     ¶¶54, 87 (redacting references to Scott Coker’s public declaration); id. at n.351 (redacting information
22   derived from public academic article); id. ¶131 (redacting quote of publicly available blog post on
     BloodyElbow.com); SR2 ¶208 & n.660 (redacting information derived from Forbes.com).
23   11
        See, e.g., Adam Martin, May 28, 2015 Tweet, 5:45PM, available at https://twitter.com/MMAdam
     Martin/status/604040804806578176 (“I just got conﬁrmation from a manager that the UFC has indeed
24   bumped up the minimum pay for entry ﬁghters to $10,000/$10,000.”); Trent Reinsmith, With Dana
     White’s Claim that the UFC Is Worth $7 Billion, It’s Time to Revisit Fighter Pay, Forbes.com (Aug. 21,
25   2018), available at https://www.forbes.com/sites/trentreinsmith/2018/08/21/with-dana-whites-claim-
     that-the-ufc-is-worth-7-billion-its-time-to-revisit-ﬁghter-pay/#2239120d44c0.
26   12
        See, e.g., Marc Raimondi, UFC’s new exclusive pay-per-view deal with ESPN+, explained,
     MMAFighting.com (Mar. 19, 2019), available at https://www.mmaﬁghting.com/2019/3/19/18272292
27   /ufcs-new-exclusive-pay-per-view-deal-with-espn-explained; A.J. Perez, ESPN wrestles UFC
     television-rights deal from Fox Sports, USA Today Sports (May 23, 2018), available at
28   https://www.usatoday.com/story/sports/ufc/2018/05/23/espn-ufc-television-rights-deal/635801002/.

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 1   to cause any competitive harm if disclosed. Zuﬀa’s motion ignores these changes. Collectively, these

 2   changes make Zuﬀa’s proposed time period restriction inappropriate. Zuﬀa’s discovery materials in this

 3   case are not suﬃciently current to warrant protection, particularly when weighed against the public’s

 4   (and Class’s) strong presumption of access and the need to eﬀectively present arguments to the Court

 5   free of restrictions and impediments created by conﬁdentiality procedures.

 6            E.     Zuﬀa Fails to Appropriately Apply Its “Trade Secret” Rule
 7            Zuﬀa proposes to seal “trade secret” material from 2014 forward, but Zuﬀa applies this rule too

 8   broadly without an acceptable deﬁnition of “trade secret.” 13 For example, Zuﬀa redacts references to a
 9   number of Zuﬀa-produced documents describing practices of other Promoters; these other Promoters’

10   practices cannot be Zuﬀa’s trade secrets. See, e.g., SR1 at nn.289-90 (discussing (1)

11                                                                                 , (2)

12                              , and (3)                                      ). Zuﬀa further proposes to

13   redact myriad generalized statements concerning business practices that do not constitute trade secrets

14   (and indeed many are obvious to outside observers). For example, Zuﬀa proposes to redact text

15   messages from former UFC-matchmaker Joe Silva stating that

16                                                     . See SR1 n.479. In yet another example of non-trade

17   secret designations, Zuﬀa proposes to redact its arguments concerning purported procompetitive

18   justiﬁcations and assertions of “                         ” For example, Zuﬀa proposes to redact

19   material in Dr. Topel’s ﬁrst report, in which he asserts (incorrectly) that: (1) Zuﬀa argues

20                                                                           ; (2) Zuﬀa

21                                                                                   ; 14 and (3) economic
22   theory would predict

23                                                                                                        .

24

25   13
        Although Zuﬀa did not specify for every document which redactions are based on a purported “trade
     secret,” the other bases for Zuﬀa’s redactions are suﬃciently clear to infer that any redactions not
26   covered by Zuﬀa’s other bases must be redacted as a purported “trade secret.” Applying Zuﬀa’s trade
     secret restriction in this way demonstrates that Zuﬀa is: (1) redacting material that does not qualify as a
27   trade secret; and/or (2) applying an undisclosed (and therefore improper) redaction basis.
     14
        Dr. Topel cites no evidence nor performs any analysis of particular facts that could constitute “trade
28   secrets” when he makes this bald, conclusory assertion. �us, there can be no reasonable basis for
     asserting that this paragraph contains trade secrets and should be redacted.
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 1   TR1 ¶138. None of this material is a “trade secret” that can be protected under Ninth Circuit law, nor

 2   has Zuffa even attempted to meet its burden of showing how each of these materials (or the myriad of

 3   other purported “trade secrets” Zuffa seeks to redact) could cause competitive harm if disclosed.

 4          F.      Zuﬀa’s Proposed Sealing Bases Are Incapable of Consistent Application
 5          Zuﬀa fails to consistently apply its proposed bases for sealing, revealing that they are

 6   impracticable and should be rejected. For Zuﬀa’s requested conﬁdentiality proposal to be granted—

 7   which it should not be—at a minimum, Zuﬀa would need to articulate a workable deﬁnition of what

 8   should be sealed so that Plaintiﬀs and their experts are aware of what can and cannot be said or

 9   otherwise presented in open court. Most concerning is Zuﬀa’s failure to deﬁne “trade secret” in a

10   workable manner. In its May 24, 2019 letter, Zuﬀa purports to comply with the Court’s statements of

11   what might generally be sealed as a trade secret, using examples “internal valuations, analyses,

12   projections and strategies.” Madden Decl. Ex.1. But Zuﬀa, in fact, redacts far more such that “trade

13   secret” seems to simply mean anything Zuﬀa purports has not been publicly revealed in the last ﬁve

14   years and which Zuﬀa does not want the public to see (without regard to whether the information has

15   future strategic implications). As a result, Zuﬀa’s redaction proposals lack consistency. For example, in

16   Dr. Topel’s last authorized report, he asserts that

17                                                              . E.g., TR4 ¶¶22-23. Zuﬀa redacts Dr. Topel’s

18   discussion of his own analysis. Dr. Singer then responds, showing that Dr. Topel’s analysis was driven

19   by an elementary data error, which if corrected, restores Dr. Singer’s results. E.g., SR4 ¶¶27-28. Zuffa

20   does not redact Dr. Singer’s discussion. Zuffa provides no justification for why Dr. Topel’s reports’

21   mistakes are subject to redaction but Dr. Singer’s correcting those mistakes are not, nor how Zuﬀa’s

22   conﬁdentiality proposal can be consistently interpreted to apply in this way.

23          Without a coherent rule that can be applied to determine which material should be sealed and

24   which should not, the Parties cannot adequately prepare to present testimony, much less censor

25   testimony based on redactions on the ﬂy. Because Zuﬀa has not provided a clear and usable deﬁnition

26   of “trade secret,” their sealing proposal should be denied. Moreover, as set forth throughout this brief,

27   none of this information is appropriately sealed in any event because all of it is part of what the Court

28   must consider in deciding Plaintiﬀs’ Motion for Class Certiﬁcation.

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 1                                       CERTIFICATE OF SERVICE
 2             I hereby certify that on this 28th day of June 2019 a true and correct copy of PLAINTIFFS’

 3   OPPOSITION TO DEFENDANT ZUFFA, LLC’S MOTION TO SEAL EXHIBITS AND

 4   PROTECTED MATERIALS AT THE EVIDENTIARY HEARING ON CLASS CERTIFICATION was

 5   served via the District of Nevada’s ECF system to all counsel of record who have enrolled in the ECF

 6   system.

 7

 8    By:
                                                    /s/ Eric L. Cramer
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